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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA, et al.,

                                Plaintiffs,            Case No. 1:20-cv-03010-APM

 v.                                                    HON. AMIT P. MEHTA
 GOOGLE LLC,

                                Defendant.


 STATE OF COLORADO, et al.,

                                Plaintiffs,            Case No. 1:20-cv-03715-APM

 v.                                                    HON. AMIT P. MEHTA
 GOOGLE LLC,

                                Defendant.



  [PROPOSED] STIPULATED ORDER REGARDING DISCLOSURE OF EXHIBITS
 CONTAINING CONFIDENTIAL MATERIAL DURING GOOGLE’S CASE-IN-CHIEF

       In order to continue facilitating public access to the trial and minimizing the need to close

the courtroom while providing for the protection of confidential information as allowed under

the Federal Rules of Civil Procedure and Local Rule 5.1(h), it is hereby ORDERED:

       1.      Google is required to provide to Plaintiffs, at least 48 hours prior to their use, the

portions of exhibits that Google intends to present to a witness at trial and treat as confidential,

including exhibits or portions of exhibits Google intends to present either in redacted form or by

not displaying to the public, whether in open or closed session. Google is not required to identify

the witness with whom a particular exhibit may be used.
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       2.      This Order supplements and does not replace ECF No. 647, which requires

Plaintiffs to continue to identify portions of exhibits or other materials at least 48 hours in

advance of public disclosure.

       3.      This Order relates solely to public disclosure of exhibits and does not prevent any

party from using information during their examinations that was not disclosed as part of the

confidentiality process set forth in ECF No. 640, ECF No. 647, and this Order.




SO ORDERED.

Dated: October __, 2023


                                                    ________________________________
                                                               Amit P. Mehta
                                                      United States District Court Judge
